Case 1:19-cv-02871-SKC Document 1-3 Filed 10/08/19 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.

ETHEL SUSANNE HALTER,

                        Plaintiff,

V.

WELD COUNTY SHERIFF ' S OFFICE,
DOES 1 - X INFINATE,
ROES 1 - X INFINATE,

                        Defendants.



                               AFFIDAVIT OF DONALD PATCH




     I, Donald Patch, being first duly sworn, state as follows:

         1. I am over the age of 18 years, of sound mind, and qualified to make this Affidavit.

        2. I have personal knowledge of the facts contained herein.

        3. I am employed by the Weld County Sheriffs Office as Undersheriff.

        4. The Weld County Sheriffs Office received a copy of the Complaint and Amended

            Complaint in this matter (District Court, Weld County, Case No. 2019CV44) on

            September 17, 2019.




        FURTHER AFFIANT SA YETH NAUGHT.,,...._            f
                                                          _ -
                                                            \ ~ - - - - - - - -




                                                      ~
                                              Exhibit C
Case 1:19-cv-02871-SKC Document 1-3 Filed 10/08/19 USDC Colorado Page 2 of 2




STATE OF COLORADO                   )
                                    ) ss
COUNTY OF WELD                      )


       SUBSCRIBED AND SWORN to before me this ~Tl-I             day of October 2019, by the said
Donald Patch.

       Witness my hand and official seal.

       My Commission Expires: JUL'(
                                            5, i l O : l ~ - ~                            ·-
                                                     Notary Public


                                                                HANNAH TAVENNER
                                                                  NOTARY PUBLIC
                                                               STATE OF COLORADO
                                                              NOTARY ID 20184027544
                                                          MY COMMISSION EXPIRES JULY 5, 2022




                                                 2

                                            Exhibit C
